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                      IN THE UNITED STATES DISTRICT COURT FOR
                           THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


John Northrup, Individually and on Behalf of §
a Class of Similarly Situated Individuals,   § Case No. 8:17-cv-1890-T-36JSS
                                             §
    Plaintiff,                               §
                                             §
vs.                                          §
                                             §
Independent Truckers Group, Inc., David E.   §
Lindsey, Innovative Health Insurance         §
Partners, LLC, and Cyberx Group, LLC,        §
                                             §
    Defendants.                              §
                                             §

         PLAINTIFF JOHN NORTHRUP’S MOTION FOR LEAVE TO FILE
     REPLY TO DEFENDANTS’ RESPONSE TO PLAINTIFF’S SUPPLEMENT TO
                   MOTION FOR CLASS CERTIFICATION

       Plaintiff requests leave of this Court to file a 7-page reply to Defendants’ Response to

Plaintiff’s Supplement to Motion for Class Certification, pursuant to Local Rule 3.01(c and d),

and the Court’s instructions, as follows:

       During the September 5, 2018 hearing in this case, the Court permitted Plaintiff the

opportunity to file a supplement to his motion for class certification, and set a deadline for

Defendant’s response to that supplement. The Court stated that Plaintiff may seek leave of Court

to file a reply brief if he believed additional briefing was needed. (9/5/18 Hearing Transcript at

36.) Plaintiff believes additional briefing is needed to respond to Defendants’ new arguments,

including their new argument regarding the Eleventh Circuit’s 2015 Karhu opinion, expanded

argument regarding the Haight v. Bluestem Brands opinion, and new arguments regarding

standing.

       Plaintiff seeks leave to file a short brief in reply to Defendant’s response, as the Court
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anticipated may be appropriate during the September 5 hearing. Pursuant to Local Rule 3.01(d),

this motion will not exceed 3 pages or attach the proposed reply. Plaintiff seeks to file a brief that

will be 7 pages or less. The reply brief will not be repetitive of the arguments made in Plaintiff’s

prior briefs.

        Defendants’ response to plaintiff’s supplement, argues that a class should not be certified

because: (1) there is no method to distinguish cell phone lines from non-cell phone lines, (2)

there is no method to ascertain subscribers, (3) class members lack standing, and (4) the class

fails the numerosity and commonality requirements. Plaintiff seeks to rebut and address these

positions and Defendants’ new arguments in a brief reply.

        The Reply will refute Defendants’ arguments and explain how the receipt of the text

message on a cell phone, and the identity of the subscriber, can be ascertained through objective

criteria (without relying on mini-trials or class member affidavits); why cell phone subscribers

have standing even if they did not incur additional fees as a result of receiving the unlawful text

message; and why the class meets the numerosity and commonality requirements. The Reply will

also bring to the Court’s attention some misleading information in Defendants’ analysis of the

Call Logs.

        WHEREFORE, Plaintiff seeks leave to file a 7-page reply brief within 14 days of the

Court’s Order granting leave.




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Dated: October 1, 2018                       Respectfully submitted,

                                             /s/ Cory S. Fein
                                             Cory S. Fein (Pro Hac Vice)
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                                             Attorneys for Plaintiff


                             CERTIFICATE OF CONFERENCE

       I hereby certify that I sent Defendants’ counsel a draft of a motion for leave to file reply
and conferred with him on October 1, 2018. Defendants’ counsel stated that he was opposed.

                                                     /s/ Cory S. Fein
                                                     Cory S. Fein


                                CERTIFICATE OF SERVICE

       I hereby certify that on October 1, 2018, this motion was served via this Court’s ECF
system and thereby served on all counsel of record.

                                                     /s/ Cory S. Fein
                                                     Cory S. Fein




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